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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF LOUISIANA

ERICK WOLFERTZ                                             CIVIL ACTION

V.                                                         CASE NO. 16-14530

UNITED STATES OF AMERICA                                   SECTION "H"(4)


                              ORDER OF DISMISSAL

      The Court having been advised by counsel for the plaintiff that all parties have
firmly agreed upon a compromise in this matter;
      IT IS ORDERED that this action be and it is hereby dismissed as to all
parties, without costs and without prejudice to the right, upon good cause shown,
within sixty days, to reopen the action if settlement is not consummated. In addition,
the Court specifically retains jurisdiction to enforce the settlement agreement if
settlement is not consummated in sixty days. See Fed. R. Civ. P. 41(a)(2); Kokkonen
v. Guardian Life Ins. Co. of Am., 511 U.S. 375, 381-82 (1994); Hospitality House, Inc.
v. Gilbert, 298 F.3d 424, 430 (5th Cir. 2002).
      COUNSEL ARE REMINDED THAT, IF WITNESSES HAVE BEEN
SUBPOENAED, EVERY WITNESS MUST BE NOTIFIED BY COUNSEL NOT
TO APPEAR.


              New Orleans, Louisiana, this 9th day of February, 2018.


                        ________________________________
                        JUDGE JANE TRICHE MILAZZO
                       UNITED STATES DISTRICT JUDGE
